
PER CURIAM.
We issued a Spencer 1 show cause order directing Appellant to demonstrate why he should not be prohibited from filing any appeal, petition, pleading, or motion pertaining to the conviction and sentence rendered in Case No. 35-1989-CF-001711 unless reviewed and signed by an attorney licensed to practice in the State of Florida. Having failed to file a response and thus failing to show cause why sanctions should not be imposed, we conclude that Appellant is abusing the judicial process and should be barred from further pro se filings.
Therefore, in order to conserve judicial resources, we prohibit Appellant from filing with this Court any further pro se pleadings concerning Lake County Fifth Judicial Circuit case number 35-1989-CF-001711. The Clerk of this Court is directed not to accept any further pro se filings concerning this case and not to accept any telephone or in-person communications. Any further pleadings regarding this case will be summarily rejected by the Clerk, unless they are filed by a member in good standing with The Florida Bar. See Isley v. State, 652 So. 2d 409, 411 (Fla. 5th DCA 1995) ("Enough is enough.").
FURTHER PRO SE FILINGS PROHIBITED.
HARRIS, GROSSHANS and SASSO, JJ., concur.

State v. Spencer, 751 So. 2d 47 (Fla. 1999).

